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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

    BERKELEY VENTURES II, LLC

                 Plaintiff,
                                                   Civil Action File No.
    v.                                             1:19-cv-05523-SDG

    SIONIC MOBILE CORPORATION and
    RONALD D. HERMAN,

                 Defendants.


         DEFENDANT SIONIC MOBILE CORPORATION’S MOTION FOR
          LEAVE TO JOIN THIRD-PARTY DEFENDANTS BERKELEY
          CAPITAL PARTNERS, LLC AND LINDA ROSSETTI, AND TO
                   PERMIT COUNTERCLAIMS AGAINST
                     COUNTERCLAIM DEFENDANT
                     BERKELEY VENTURES II, LLC

           Defendant Sionic Mobile Corporation (“Sionic”) respectfully moves the

Court as follows:

             1. In accordance with Fed. R. Civ. P. 14(a)(1),1 to permit Sionic to

                file and serve, together with Summons, its Counterclaim and

                Third-Party Complaint (the “Counterclaim-TPC”) against

                Berkeley Ventures II, LLC (“Berkeley”), Berkeley Capital

                Partners, LLC (“Capital”), and Linda Rossetti (“Rossetti”);


1   Further reference to each Fed. R. Civ. P. being a “Rule.”

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         2. To add Capital and Rossetti as Third-Party Defendants to this

            action in accordance with Rules 14(a) and 19(a) and the

            Counterclaim-TPC because, at a minimum, Capital and Rossetti

            share liability for the harm and damages, if any, alleged by

            Berkeley in its Complaint and because they engaged, together

            with Berkeley, in a scheme and device to libel and defame and to

            otherwise harm Sionic; and

         3. To allow Sionic to bring its Counterclaims against Berkeley

            under Rule 13 and in accordance with the Counterclaim-TPC,

            since Berkeley was part of a common scheme and device, in

            coordination with Capital and Rossetti, to harm Sionic and profit

            from this matter.

      A copy of Sionic’s Counterclaim-TCP is attached and incorporated as

Exhibit A to this Motion. A Brief in Support, incorporated by this reference, is

further submitted with this Motion for the Court’s consideration.

      WHEREFORE, Sionic respectfully moves that the Court grant its

Motion, permit Sionic’s third-party claims and counterclaims as stated in its

Counterclaim-TPC, and join Capital and Rossetti to this action.




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Respectfully submitted this May 11, 2021.

                             /s/ Simon Jenner
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           CERTIFICATE OF COMPLIANCE AND SERVICE

      I certify that the foregoing has been prepared in accordance with Local

Rule 5.1(C), using Century Schoolbook, 13-point font. I further certify I have

electronically filed, on the date stated below, the foregoing DEFENDANT

SIONIC MOBILE CORPORATION’S MOTION FOR LEAVE TO JOIN

THIRD-PARTY DEFENDANTS BERKELEY CAPITAL PARTNERS,

LLC AND LINDA ROSSETTI, AND TO PERMIT COUNTERCLAIMS

AGAINST COUNTERCLAIM DEFENDANT BERKELEY VENTURES

II, LLC with the Clerk of Court using the CM/ECF system which will

automatically send email notification of such filing to attorneys of record, as

follows:

                             Jason Brian Godwin
                             Godwin Law Group
                        3985 Steve Reynolds Boulevard
                                 Building D
                             Norcross, GA 30093

      This May 11, 2021.

                                     /s/ Simon Jenner
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